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                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HECTOR MEDINA-PENA,
2449 Allenbrook Drive, Apt. 7
Allentown, PA 18103,                                    CIVIL ACTION

                         Plaintiff,
                                                        No.
      vs.
                                                   .
OFFICER JOSEPH JVI. IANNETTA,
Individually and in his official capacity as a
member of the Allentown Police Department
425 Hamilton Street
                                                                  FILED
Allentown, PA 18101,                                              OCT 2 0 2018
                                                               lUCYV. ~IN lnterirnCfern
OFFICER PATRICK BULL,                                          By     ' ! Oep. Clerk
Individually and in his official capacity as a
member of the Allentown Police Department
425 Hamilton Street
Allentown, PA 18101,
                                                        Jury Trial Demanded
JOHN/JANE DOES 1-X,
Individually and in their official capacities as
members of the Allentown Police Department         ..
425 Hamilton Street
Allentown, PA 18101,

JVIAYOR EDWIN PA\VLO\VSKI,
Individually and in his official capacity as
ilfayor of the City ofAllentown
435 Hamilton Street
Allentown, PA 18101

 FORJVIER CHIEF JOEL FITZGERALD, SR. :
 c/o Fort Worth Police Department
 505 W. Felix Street
 Fort \Vorth, TX 76115                             .

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           and

CITY OF ALLENTOWN,
435 Hamilton Street
Allentown, PA 18_101,                                      .
                                Defendants.

                                         COJ\1PLAINT

           NOW COl\fES, the Plaintiff HECTOR MEDINA-PENA, by and through

his legal counsel, Joshua E. Karoly, Esquire, and with him Karoly Law Firm, LLC,

and does hereby allege and aver the following:

 I.        JURISDICTION AND VENUE

      1.     This action is instituted under the United States Constitution, particularly

             under the provisions of the Fourth and Fourteenth Amendments, and under

             federal law, particularly the Civil Rights Act of 1871 hereinafter referred

             to as the ''Act," as amended, 42 U.S.C. §§ 1981, 1983, 1985, 1986 and

                 1988.

      2.     This Court has jurisdiction in this matter pursuant to 28 U.S.C. § 1331, §

                 1343(a)(3), § 1343(a)(4) and§ 1367(a), regarding the principles of pendent

                 and supplemental jurisdiction over related state law claims.

      3.         Venue in the Eastern District is properly laid pursuant to 28 U.S.C. § 1391,

                 insofar as the alleged unlawful conduct complained of in this Complaint,

                 which forms the factual and legal basis of the Plaintiffs claims, arose



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              within the geographical limits of this District in general and within the

              geographical limits of the City of Allentown, Pennsylvania, in particular.

II.         PARTIES

      4.      Plaintiff Hector lvledina-Pena (hereinafter "lvledina" or "Plaintiff') is an

              adult individual, who has a home address of 2449 Allenbrook Drive,

              Allentown, Pennsvlvania.

      5.      Defendant Officer Joseph l\1. Iannetta (hereinafter referred to as

              "Iannetta") is an adult individual who, at all times relevant hereto, was

              serving in his capacity as a sworn officer of the Allentown Police

              Department, and was entrusted with the power to enforce the laws of the

              Commonwealth of Pennsylvania and the Ordinances of the City of

              Allentown. Defendant Iannetta was entrusted to protect the Constitutional

              rights of those he encountered, and at all times relevant hereto, was acting

               under the authority and color of law, and in concert with one or more of

               the other individual Defendants in the perfonnance or conduct of their

               actions, or acted independently of them.

       6.      Defendant Officer Patrick Bull (hereinafter referred to as "Bull") is an

               adult individual who, at all times relevant hereto, was serving in his

               capacity as a sworn officer of the Allentown Police Department, and was

               entrusted with the power to enforce the laws of the Commonwealth of



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      Pennsylvania and the Ordinances of the City of Allentown. Defendant

      Bull was entrnsted to protect the Constitutional rights of those he

      encountered, and at all times relevant hereto, was acting under the

      authority and color of law, and acted in concert with one or more of the

      other individual Defendants in the performance or conduct of their actions,

      or acted independently of them.

7.    Defendant(s) John/Jane Does 1-X (hereinafter referred to as "Doe") are

      adult individual(s) who, at all times relevant hereto, wasiwere serving in

      hisiher/their capacity as a sworn officer(s) of the Allentown Police

      Department, and was/were entrusted with the power to enforce the laws of

      the Commonwealth of Pennsylvania and the Ordinances of the City of

      Allentown. Defendant(s) Doe was/were entrnsted to protect the

      Constitutional rights of those he/she/they encountered, and at all times

      relevant hereto, was/were acting under the authority and color oflaw, and

      in concert with one or more of the other individual Defendants in the

                                   ' actions, or acted independently of them.
       performance or conduct of their

8.     Defendant l\1ayor Edwin Pawlowski (hereinafter referred to as "lvlayor

       Pawlowski") is an adult individual who is an elected official of the City of

       Allentown and is in direct supervision of the Police Department and its

       sworn members, and also of the selection of supervisory personnel for the



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      Allentown Police Department, who are, in tum, by and through him,

      responsible for the formulation and/or implementation of practices,

      policies, customs and procedures, as well as the day-to-day operation and

      oversight, including command and control, of all segments of the

      Allentown Police Department. Mayor Pawlowski either does, or has failed

      to, promulgate and enforce laws, rules and regulations concerning the

      operations of the Allentown Police Department and who at all times

      relevant hereto, was acting within the scope of his duties and authority,

      under color or title of state or municipal public law or ordinance, and

      supervised or controlled one or more of the other Defendants herein, in

      their conduct or actions, or inactions, or acted in concert with them, in the

      performance of their conduct or actions. It is believed, and therefore

      averred that Defendant Mayor Pawlowski, exercises/exercised authority

      over the selection, staffing, retention, training, promotions, discipline and

      operational functions of the Allentown Police Department, with the final

      and unreviewable decision making authority of a policymaker.

9.    Defendant Former Chief Joel Fitzgerald, Sr. (hereinafter referred to as

      "Chief Fitzgerald") is an adult individual who, at all times relevant hereto,

      up until on or about October 18, 2015, was a sworn member of the

      Allentown Police Department with the rank of Chief who was responsible



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       for the formulation and/or implementation of practices, policies, and

       procedures, discipline and assignment of officers, hiring and firing, as well

       as the day to day operation and overseeing and command and control of

       all segments of the Police Department, and who at all times relevant hereto

       was acting within the scope of his duties and authority, under color or title

       of state or municipal public law or ordinance and supervised or controlled

       one or more of the other Defendants herein in their conduct or actions, or

       acted in concert with them in the performance of their conduct or actions,

       or acted independently. It is believed, and therefore averred that Defendant

       Fitzgerald, along with Defendant Pawlowski, was at pertinent times, the

       ultimate authorities for the staffing, promotions, discipline and/or

       operational functions of the Allentown Police Department, with the final

       and unreviewable decision making authority of policymakers.

10.    Defendant City of Allentown (hereinafter referred to as the "City") is a

       municipal corporation, City of the Third Class, and govermnental entity

       within the Commonwealth of Pennsylvania, empowered to establish,

       regulate, and control its Police Department for the enforcement oflaws and

       ordinances within its jurisdiction, and for the purpose of protecting and

       preserving the persons, property and the Constitutional rights of




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               individuals within the geographical and legal jurisdiction of the Defendant

               City.

III.         PRE-DISCOVERY FACTUAL ALLEGATIONS

       11.     On or ahout May 30, 2015 at or ahout 6:30 p.m., Plaintiff was in the back

               seat, driver's side, of a Ford Explorer traveling in the City of Allentown.

       12.     Plaintiff was traveling in the Ford Explorer with 3 other individuals when

               Allentown Police signaled for the vehicle to pull over.

       13.     The vehicle came to a stop at S. 5th and Auburn Streets in the City of

               Allentown.

       14.     Immediately, Plaintiff complied with Defendant Iannetta's commands to

               show his hands and exit the car.

       15.     The Plaintiff voluntarily exited the vehicle, moved to the back of the

               vehicle, got down on his knees, and raised his hands over his head in plain

               view of all police officers on scene.

       16.     At that time, both the front seat passenger and the back seat, passenger

               side, occupants exited the vehicle, showed their hands, and laid down flat

               on the ground with their hands on the sidewalk.

       17.     Plaintiff then, following commands, got down on "all fours" at the back of

               the Explorer and directly in front of Defendant Iannetta and his patrol car.




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18.    At about the same time that Plaintiff was surrendering peacefully on all

       fours, the driver of the Explorer was compliantly displaying both of his

       hands out of the driver's window.

19.    Horrifically, while Plaintiff was positioned on all fours, and defenseless,

       Defendant Iannetta approached Plaintiff with his gun drawn and performed

       what can only be described as a "WWE" style kick with his booted foot to

       the Plaintiffs right side of his head and face.

20.    Immediately, Plaintiff crumbled to the ground, immobile, and in extreme

       pam.

21.    Defendant Iannetta's kick was in full view of Defendant Bull and

       potentially other APD officers (John/Jane Does 1-X). Bull, also with his

       gun drawn, positioned himself on top of the motionless Plaintiff, with his

       left knee sticking in the Plaintiffs back, his left hand on Plaintiffs left

       shoulder, and his gun pointed at the two passenger side individuals laid out

       with their hands showing on the sidewalk.

22.    Defendant Iannetta then left the Plaintiff he had just seriously injured, and

       approached the driver, who had his hands displayed as requested, and stuck

       his gun into the driver's face, ripped the driver violently out of the car, and

       threw the driver to the ground.




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